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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-1285V
                                        UNPUBLISHED


    BRENDA TATRO,                                           Chief Special Master Corcoran
    Trustee of the Sally J. Silver
    Revocable Trust                                         Filed: September 28, 2021

                        Petitioner,                         Special Processing Unit (SPU);
    v.                                                      Ruling on Entitlement; Concession;
                                                            Table Injury; Influenza (Flu) Vaccine;
    SECRETARY OF HEALTH AND                                 Shoulder Injury Related to Vaccine
    HUMAN SERVICES,                                         Administration (SIRVA)

                       Respondent.


Christine M. Smith, Law Office of Christine M. Smith, Manchester, NH, for Petitioner.

Laurie Wiesner, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT 1

      On August 27, 2019, Sally J. Silver 2 filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 3 (the
“Vaccine Act”). Ms. Silver alleges that she suffered from a shoulder injury related to
vaccine administration (“SIRVA”) after an influenza (“flu”) vaccination on September 14,
2017. Petition at ¶1. The case was assigned to the Special Processing Unit of the Office
of Special Masters.

1 Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2On August 27, 2020, Brenda Tatro, as Trustee of the Sally J. Silver Revocable Trust, was substituted as
petitioner after Ms. Silver passed away in March of 2020. ECF No. 22.

3 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        On September 27, 2021, Respondent filed his Rule 4(c) report in which he
concedes that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c)
Report at 1. Specifically, Respondent states that “Ms. Silver had no history of pain,
inflammation, or dysfunction of her right shoulder prior to vaccination that would explain
her signs, symptoms or findings after vaccination; the onset of pain occurred within 48
hours after receipt of an intramuscular vaccination; the pain was limited to the shoulder
where the vaccine was administered; and no other condition or abnormality has been
identified to explain Ms. Silver’s right shoulder symptoms.” Id. at 5.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                  s/Brian H. Corcoran
                                  Brian H. Corcoran
                                  Chief Special Master




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